
65 Cal.Rptr.3d 144 (2007)
166 P.3d 2
PEOPLE
v.
ENGLISH (Charles David).
No. S154422.
Supreme Court of California.
August 15, 2007.
Review granted/briefing deferred (8.512(d)(2) criminal case).
Further action in this matter is deferred pending further order of the court. (See Cal. Rules of Court, rule 8.512(d)(2).) Submission of additional briefing, pursuant to California Rules of Court, rule 8.520. is deferred pending further order of this court.
Votes: GEORGE, C.J., KENNARD, BAXTER, WERDEGAR, CHIN, MORENO, and CORRIGAN, JJ.
